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Shapes/Arch Holdings, LLC
Consolidate Profit and Loss Statement


                                        ACTUAL            ACTUAL            ACTUAL
                                         Jan-08            Feb-08           2 Months
SALES
 SALES                              $     19,536,386 $      19,200,547 $      38,736,933
 INTER-COMPANY ELIMINATIONS               (2,131,000)       (1,937,000)       (4,068,000)
 NET SALES                          $     17,405,386 $      17,263,547 $      34,668,933

COST OF SALES
 MATERIAL COST                            12,824,404        11,873,000        24,697,404
 INTER-COMPANY ELIMINATIONS               (2,258,000)       (2,064,000)       (4,322,000)
 MANUFACTURING EXPENSES                    5,177,330         5,059,600        10,236,930
                                          15,743,734        14,868,600        30,612,334

GROSS PROFIT                        $      1,661,652 $       2,394,947 $       4,056,599
 MATERIAL COST %                              65.64%            61.84%            63.76%
 GROSS PROFIT %                                9.55%            13.87%            11.70%

OPERATING EXPENSES
 DELIVERY EXPENSES                           910,000           963,000         1,873,000
 SELLING EXPENSES                            759,500           767,700         1,527,200
 DEPRECIATION/AMORTIZATION                   778,000           764,000         1,542,000
 GENERAL & ADMINISTRATIVE                  1,507,170         1,452,700         2,959,870
 INTER-COMPANY ELIMINATIONS                   (6,000)           (6,000)          (12,000)
 TOTAL OPERATING EXPENSES                  3,948,670         3,941,400         7,890,070

OPERATING INCOME                    $     (2,287,018) $     (1,546,453) $     (3,833,471)

INTEREST EXPENSE                            319,000           266,000           585,000

OTHER INCOME                                 157,000           145,000           302,000
 INTER-COMPANY ELIMINATIONS                 (133,000)         (133,000)         (266,000)
NET OTHER INCOME                              24,000            12,000            36,000

EXTRAORDINARY ITEMS                                -                 -                  -

PRETAX NET INCOME                   $     (2,582,018) $     (1,800,453) $     (4,382,471)

EBITDA                              $     (1,485,018) $       (770,453) $     (2,255,471)
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Shapes/Arch Holdings, LLC
Monthly Balance Sheet




Assets                             12/31/07           1/31/08            2/29/08
Cash                         $              -     $            -     $            -
Accounts Receivable                  21,684,000         23,877,000         29,167,000
Inventory                            45,871,000         44,044,000         44,302,000
Prepaids                              1,420,000          1,261,000          1,345,000
Current Assets               $       68,975,000   $     69,182,000   $     74,814,000

Net PPE                              67,565,000         67,214,000         66,802,000

Other Asset                             579,000            560,000            541,000

Total Assets                 $      137,119,000   $    136,956,000   $    142,157,000


Liabilities
Accounts Payable                     27,988,000         31,268,000         35,663,000
Accrued Expenses                      5,454,000          4,637,000          6,142,000
Current Liabilities          $       33,442,000   $     35,905,000   $     41,805,000

Revolver                             41,693,000         41,815,000         43,081,146
Term Loan                             8,844,000          8,678,000          8,514,000
Subordinated Debt                     5,991,000          5,991,000          5,991,000

Members Equity                       47,149,000         44,567,000         42,765,854

Total Liabilities & Equity   $      137,119,000   $    136,956,000   $    142,157,000
